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  8                          UNITED STATES DISTRICT COURT

  9              CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

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 11    SCOTT MANGUM,                           Case No. ED CV 20-00854-SB(AS)

                        Plaintiff,             ORDER ACCEPTING FINDINGS,
 12
                                               CONCLUSIONS, AND
 13         v.                                 RECOMMENDATIONS OF UNITED
                                               STATES MAGISTRATE JUDGE
 14    KILOLO KIJAKAZI, Acting
       Commissioner of Social
 15    Security,
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                        Defendant.
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            Pursuant to 28 U.S.C. § 636, the Court has reviewed the
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      Complaint, all the records herein, and the attached Report and
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      Recommendation    of   United   States    Magistrate   Judge   to   which   no
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      objections were filed. Accordingly, the Court concurs with and
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      accepts the findings and conclusions of the Magistrate Judge.
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 24
            IT IS ORDERED that (1) the Report and Recommendation is
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      accepted and adopted as the Findings of Fact and Conclusions of
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      Law herein; (2) the decision of the Administrative Law Judge is
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      vacated; and (3) the matter is remanded to the Social Security
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  1   Administration for further administrative action consistent with

  2   the Report and Recommendation.

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  4         IT IS FURTHER ORDERED that the Clerk serve copies of this

  5   Order, the Magistrate Judge’s Report and Recommendation and the

  6   Judgment on counsel for Plaintiff and the United States Attorney

  7   for the Central District of California.

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      Dated:   October 18, 2021
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                                                   Stanley Blumenfeld, Jr.
 11
                                                United States District Judge
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